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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

SEALED/EX PARTE

UNITED STATES OF AMERICA, )

) Crim. No. 13-2106 MBB

)
Vv. ) ORDER COMPELLING BOP

) TO PERMIT COUNSEL

) TO PHOTOGRAPH CLIENT
DZOHKHAR TSARNAEV ) AND HIS INJURIES

Before the Court is defendant’s ex parte, sealed motion for an Order Compelling
the Bureau of Prisons to Permit Counsel to Photograph Client and his Injuries.
Having reviewed the motion and good cause appearing therefor, the court hereby
grants the request, and orders the Bureau of Prisons to permit counsel to take photographs
of Dzhokhar Tsarnaev and his injuries. Counsel shall bring the necessary photograph

equipment, and permit necessary inspection of the equipment for security purposes.

Counsel shall be permitted to take these photographs FORTH WITH.

IT IS SO ORDERED.

Dated:

Honorable Marianne B. Bowler
United States Magistrate Judge
